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                 IN THE UNITED STATES DISTRICT COURT
                 FOR THE MIDDLE DISTRICT OF ALABAMA
                          NORTHERN DIVISION

KEVIN LAWSON                              )
                                          )
       v.                                 ) CASE NO. 2:20-CV-288-WKW
                                          )             [WO]
UNITED STATES OF AMERICA                  )

                                     ORDER

      Before the court are Plaintiff’s motion for leave to appeal and Plaintiff’s

motion for a certificate of appealability. (Doc. # 27.) It appears that Plaintiff was

attempting to appeal the absence of the court’s ruling on his motion for recusal. An

Order denying that motion now has been entered. (Doc. # 28.) Therefore, it is

ORDERED that the motions for leave to appeal and for a certificate of appealability

are DENIED AS MOOT.

      DONE this 23rd day of September, 2020.

                                            /s/ W. Keith Watkins
                                       UNITED STATES DISTRICT JUDGE
